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                      IN THE UNITED STATES DISTRICT COURT
                 NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

BARRY GILFAND et al.,                     )
                                          )
                Plaintiffs,               )
                                          )      07 C 2566
       vs.                                )
                                          )      Judge Leinenweber
SGT. JEFFERY PLANEY et al.,               )
                                          )      Magistrate Judge Keys
                Defendants.               )

                       MOTION FOR LEAVE TO WITHDRAW AS
                     COUNSEL FOR DEFENDANT GREGORY BARNES

       NOW COME, attorneys DANIEL Q. HERBERT, PAUL D. GEIGER, and RONALD C.

DAHMS, and move this court for leave to withdraw as counsel for Defendant, GREGORY

BARNES. In support of their motion, counsel states that counsel and Defendant, GREGORY

BARNES, have irreconcilable differences. Defendants, DEMETRIOS KEREAKES, VINCENT

MATTHEWS, MATIAS PADILLA, JEFFERY PLANEY, and ERIKA WOOSLEY will remain

with counsel.

       WHEREFORE, attorneys DANIEL Q. HERBERT, PAUL D. GEIGER, and RONALD

C. DAHMS, respectfully move this court to grant counsel’s Motion for Leave to Withdraw as

Counsel for Defendant, GREGORY BARNES.

                                                 Respectfully submitted,


                                                 s/Daniel Q. Herbert
                                                 DANIEL Q. HERBERT
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